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THIS ORDER IS SIGNED AND ENTERED.




                                                                __________________________________
Dated: January 26, 2016                                                Hon. Catherine J. Furay
                                                                   United States Bankruptcy Judge
________________________________________________________________




                             UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF WISCONSIN


 In Re:      JOHN P. WAGGONER                                          CHAPTER 7
             aka JP SPORTS, INC.                                       CASE NO. 15-14310-cjf
             dba SPORTSMAN'S HEADQUARTERS
             and
             REBECCA B. WAGGONER

                      Debtors.


                        ORDER GRANTING WELLS FARGO BANK, N.A.
                    RELIEF FROM AUTOMATIC STAY AND ABANDONMENT


          This case came before the Court on the Motion for Relief from Automatic Stay and for

Abandonment (the “Motion”) filed by Wells Fargo Bank, N.A. (hereinafter “Creditor”), dated

01/12/2016, with respect to real property of Debtors, commonly known as 477 Sundance Rd., Wakefield,

Michigan 49968 (the “Collateral”). Due and proper notice was given, and no objections were filed. The


Drafted by:
Attorney Amy J. Smith
Kohner, Mann & Kailas, S.C.
Washington Building
4650 North Port Washington Road
Milwaukee, WI 53212-1059
Telephone: (414) 962-5110
Facsimile: (414) 962-8725
Email: asmith@kmksc.com

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facts recited in the motion show that there is no equity in the Property, the Movant’s interest in the

Property is not adequately protected, and cause exists for granting the Movant’s request for relief from the

stay and abandonment.

        IT IS THEREFORE ORDERED that the stay of proceedings under 11 U.S.C. § 362 is terminated

with respect to Debtor(s), the estate, and collateral, so as to allow Creditor to pursue enforcement against

Debtor(s) and the Collateral, for all purposes allowed under the promissory note and mortgage, recorded

on 05/07/2012 in Ledger 543, Pages 565-582 and with Receipt No. 3063, and applicable nonbankruptcy

law, including but not limited to the foreclosure and sale of the Collateral.

        IT IS FURTHER ORDERED the entry of this Order shall constitute abandonment pursuant to 11

U.S.C. § 554.

        IT IS FURTHER ORDERED that Creditor shall have the right to take any and all actions with

respect to the real property that are available under applicable non-bankruptcy law (i.e. modifications,

short sales and other loss mitigation options).

        IT IS FURTHER ORDERED that Creditor be relieved of any further requirement to file and serve

Notices of Payment Change under Federal Rule of Bankruptcy Procedure 3002.1(b) and/or Notices of Post-

Petition Fees, Expenses and Charges as required by Federal Rule of Bankruptcy Procedure 3002.1(c).

        IT IS FURTHER ORDERED that this Order is effective immediately, and is not stayed for 14

days pursuant to Bankruptcy Rule 4001(a)(3).

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